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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


                                                         :
MIA CASTRO, M.D., HEIDI BOULES, M.D,                     :        CIVIL ACTION NO.
ASHLEY ELTORAI, M.D., JODI-ANN                           :        3:20-cv-00330-JBA
OLIVER, M.D., LORI-ANN OLIVER, M.D.,                     :
AND ELIZABETH REINHART, M.D.                             :
                                                         :
                        PLAINTIFFS                       :
                                                         :
v.                                                       :
                                                         :
YALE UNIVERSITY, YALE NEW HAVEN                          :
HOSPITAL, INC., AND MANUEL LOPES                         :
FONTES, M.D.                                             :
                                                         :
                  DEFENDANTS                             :        JULY 21, 2020
___________________________________________

            YALE UNIVERSITY’S MOTION FOR PERMISSION TO FILE A
                   REPLY BRIEF IN EXCESS OF TEN PAGES

         Pursuant to Rule 7 of both the Federal Rules of Civil Procedure and the Local Rules of

Civil Procedure, the defendant, Yale University, hereby respectfully moves for permission to file

a reply brief in excess of ten pages in response to the plaintiffs’ July 10, 2020 Omnibus

Memorandum of Law in Opposition to Motion to Dismiss (“Opposition Brief”). (Doc. Entry No.

61.) The plaintiffs’ Opposition Brief is 249 pages with exhibits. In its reply brief, Yale University

must respond to six separate complaints filed by the six plaintiffs, and the claims advanced by

each plaintiff for retaliation and discrimination under Title VII and Title IX are highly fact

specific. Accordingly, Yale University requests permission to file a reply brief – which is due on

Friday, July 24, 2020 – totaling 16 pages.



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                                            JURIS NO. 415438
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                                    THE DEFENDANT,
                                    YALE UNIVERSITY


                              By:                  /s/
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                                    KRISTIANNA L. SCIARRA – CT30223
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                              Patrick M. Noonan




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